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                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF MISSISSIPPI
                                  NORTHERN DIVISION

CLORETTE ANCAR and
LEONARD JOSEPH ANCAR, JR.,                                                              PLAINTIFFS

v.                                                     CIVIL ACTION NO. 3:11-cv-595-DPJ-FKB

LEROY BROWN, JR. and
TNE TRUCKING, INC,                                                                  DEFENDANTS
                                              ORDER

        This personal-injury case is before the Court on the parties’ cross motions in limine [117

and 123], both of which were addressed during the pretrial conference.

I.      Standard

        As summarized by the Fifth Circuit Court of Appeals:

        A motion in limine is a motion made prior to trial for the purpose of prohibiting
        opposing counsel from mentioning the existence of, alluding to, or offering
        evidence on matters so highly prejudicial to the moving party that a timely motion
        to strike or an instruction by the court to the jury to disregard the offending matter
        cannot overcome its prejudicial influence on the jurors’ minds.

O’Rear v. Fruehauf Corp., 554 F.2d 1304, 1306 n.1 (5th Cir. 1977) (citation and quotation

omitted).

II.     Motions

        A.     Defendants’ Motion in Limine [117]

        Defendant Leroy Brown was operating a tractor-trailer in the course and scope of his

employment with Defendant TNE Trucking, Inc., when it left the road. Though the tractor

contacted no other vehicles, it caused Plaintiff Clorette Ancar to lose control of and wreck her

vehicle. Defendants now seek to exclude certain evidence.
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                1.      Driving, Training, and Other Records

        Defendants having admitted liability seek to exclude Brown’s driving, training, and other

records. Plaintiffs respond that the records remain relevant to punitive damages. The Court

concludes that all disputed records will be excluded during the liability phase of the case. Those

records relevant to the punitive-damages claim against Brown will be admissible during the

punitive-damages phase, but because the Court dismissed the punitive-damages claims against

TNE Trucking, documents related to its fault will be excluded. At this stage, it is difficult to tell

which documents relate exclusively to TNE Trucking, so the parties are instructed to raise the

issue with the Court at the conclusion of the liability phase if necessary.

                2.      Documents Related to TNE Trucking

        Defendants move to exclude evidence related to TNE Trucking’s hiring practices and

procedures, training practices, safety policies, safety history or rating, and records from the

Federal Carrier Safety Administration. Plaintiffs respond that these documents are related to the

punitive-damages claim. Because that claim was dismissed as to TNE Trucking, it appears that

at least some of the referenced documents—like hiring practices—are not admissible even during

the punitive phase. Others—like training policies—could be relevant to the punitive claim

against Brown. This portion of the motion is therefore granted as to the liability stage. But as

with the prior portion of the motion, it is difficult to tell which documents relate exclusively to

TNE Trucking, so the parties are instructed to raise the issue with the Court at the conclusion of

the liability phase if necessary.




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               3.      Expert Testimony, Exhibits, and Other Evidence

       Defendants generally move to exclude evidence that was not properly disclosed or

designated. Plaintiffs state that no such evidence exists, and this portion of the motion is granted

without prejudice. There are circumstances where new evidence is allowed, but before it may be

admitted, the parties must raise the issue outside the presence of the jury.

               4.      Liability Insurance

       Both parties agree that evidence related to liability insurance will not be admitted.

               5.      Evidence of Investigation

       The parties have informed the Court that there is no such evidence. This portion of the

motion is granted.

       B.      Plaintiffs’ Motion in Limine [120]

       Plaintiffs move to exclude various testimony developed during discovery depositions.

The Court has reviewed the objected-to testimony, and it appears that some of the testimony

would reveal collateral sources whereas other portions of the testimony address the

reasonableness of the claimed medical bills. During the pretrial conference, the parties appeared

to agree that the issues are somewhat intertwined and that an effort should be made to extract the

testimony regarding insurance and collateral sources. Accordingly, the parties will address this

motion when they present their deposition designations and objections. The motion is denied

without prejudice to Plaintiffs’ right to object to the testimony pursuant to the deadlines

established during the pretrial conference.




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III.     Conclusion

         The Court has considered all the arguments. Those not specifically addressed would not

change the result. Defendants’ Motion in Limine [117] is granted in part and denied in part, and

Plaintiffs’ Motion in Limine [120] is denied without prejudice.

         SO ORDERED AND ADJUDGED this the 7th day of February, 2014.

                                             s/ Daniel P. Jordan III
                                             UNITED STATES DISTRICT JUDGE




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